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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


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 DANI BUTLER, et al.,

                                   Plaintiffs,                            Docket No: 20-cv-02514 (EGS)

                           -against-

 DEMOCRACTIC PEOPLE’S REPUBLIC OF KOREA, et al.,

                                   Defendant.

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                                             STATUS REPORT

        In keeping with the Court’s minute order of December 15, 2021, Plaintiffs respectfully

submit this status report to update the Court on the status of service.

        Plaintiffs previously requested the Clerk of the Court mail service of process on the

Democratic People’s Republic of Korea (“North Korea”) by registered mail. (DE 5). However, on

or about December 7, 2020, the Clerk of the Court docketed service of process, which revealed

service of process was by regular mail. (DE 9). On June 1, 2021, the Clerk of the Court advised us

by telephone that because of the COVID 19 pandemic the Clerk’s office is not making trips to the

U.S. Post Office. Therefore, the Clerk of the Court was not able to effectuate service of process

using registered mail. In light of the above, Plaintiffs arranged for diplomatic service of process

on North Korea. (DE 10). On June 22, 2021, the Clerk of the Court sent via FedEx to the U.S.

Department of State two copies of the Summons, Complaint and Notice of Suit, along with a

translation of each document, for diplomatic service of process on the Defendant. (DE 12). As of

this date, the U.S. Department of State has not informed us or the Clerk that diplomatic service of
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process has been completed, and the docket does not reflect any return of service from the State

Department. This amount of delay is not unusual for diplomatic service.

         After diplomatic service of process upon North Korea has been completed, and in the likely

event that North Korea will fail to answer the Complaint, Plaintiffs will file a default judgment

motion against North Korea.

         Plaintiffs respectfully submit that August would be a reasonable interval for a further status

report. Obviously, if we receive proof of service of process before then we will docket it.

         Plaintiffs thank the Court for its efforts in this matter.

Dated:     Brooklyn, New York
           April 12, 2022
                                                  Respectfully submitted,

                                                  THE BERKMAN LAW OFFICE, LLC
                                                  Attorneys for Plaintiffs


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